                        Case 4:13-cr-00037-SWW Document 42 Filed 12/05/13 Page 1 of 3
AO 2451        (Rev. 09/11) Judgment in a Criminal Case for a Petty Offense
               Sheet 1



                                      UNITED STATES DISTRICT COURT

                                                                                                                                                  RK
      UNITED STATES OF AMERICA
                             v.
               SILVIANA MALDONADO                                              Case No.     4:13CR00037-002 SWW

                                                                               USM No.      27512-009
                                                                               Jeffrey M. Rosenzweig (appointed)
                                                                                                     Defendant's Attorney
THE DEFENDANT:

fi THE DEFENDANT pleaded                      ¢guilty D nolo contendere to count(s) 1 of the superseding information
D THE DEFENDANT was found guilty on count(s)
The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                  Offense Ended
8 U.S.C. § 1325(a)                   Illegal Entry into the United States                                 10/2012




          The defendant is sentenced as provided in pages 2 through              _....:3~_of this judgment.

D THE DEFENDANT was found not guilty on count(s)
D Count(s)                                                       D is          D are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: none                             12/5/2013

Defendant's Year of Birth: 1981                                                     '
                                                                              (_.' ]".u."=·
City and State of Defendant's Residence:
 Detained
                                                                                Susan Webber Wright,                        U.S. District Judge
                                                                                                   Name and Title of Judge

                                                                                12/5/2013
                                                                                                              Date
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AO 2451    (Rev. 09/11) Judgment in a Criminal Case for a Petty Offense
           Sheet 2 - Imprisonment

                                                                                                       Judgment - Page _...;;2~- of   3
DEFENDANT: SILVIANA MALDONADO
CASE NUMBER: 4:13CR00037-002 SWW

                                                                 IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

                   TIME SERVED.




D    The court makes the following recommendations to the Bureau of Prisons:




¢   The defendant is remanded to the custody of the United States Marshal.

D    The defendant shall surrender to the United States Marshal for this district:
     D    at                                        D     a.m.        D    p.m.    on
     D    as notified by the United States Marshal.

D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     D    before 2 p.m. on
     D    as notified by the United States Marshal.
     D as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
I have executed this judgment as follows:




     Defendant delivered on                                                               to

                                                          with a certified copy of this judgment.
at -------------------------



                                                                                                    UNITED STATES MARSHAL




                                                                             By ----------------------------------------
                                                                                         DEPUTY UNITED STATES MARSHAL
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AO 2451    (Rev. 09/11) Judgment in a Criminal Case for a Petty Offense
           Sheet 3 - Criminal Monetary Penalties

                                                                                                        Judgment- Page _...:3::.--_   of   3
DEFENDANT: SILVIANA MALDONADO
CASE NUMBER: 4: 13CR00037-002 SWW
                             CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 4.

                     Assessment                                             Fine                                  Restitution
TOTALS             $Waived                                                $ 0.00                                $ 0.00


0   The determination of restitution is deferred until. _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

0   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned _payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid in full prior to the Umteo States receiving payment.


Name of Payee                                                                 Total Loss*            Restitution Ordered Priority or Percentage




TOTALS                                                                                      0.00                        0.00


0   Restitution amount ordered pursuant to plea agreement $

0   The defendant must pay interest on restitution or a fine of more than $2,500, unless the fine or restitution is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0   The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     0    the interest requirement is waived for              0   fine        0      restitution.

     0    the interest requirement for           0     fine       0       restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
